         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                          CRIMINAL NO. 1:04CR74


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                     ORDER
                         )
                         )
STEPHEN DALE McCLELLAN )
                         )


     THIS MATTER is before the Court on remand from the Fourth Circuit

Court of Appeals for resentencing. United States v. McClellan, 2009 WL

891055 (4th Cir. 2009).

     IT IS, THEREFORE, ORDERED that this matter is hereby scheduled

for resentencing on MONDAY, JULY 20, 2009, AT 9:00 AM, at the U.S.

Courthouse in Asheville, North Carolina.

     IT IS FURTHER ORDERED that counsel be appointed to represent

the Defendant at resentencing. The Probation Office is requested to

prepare a supplemental presentence report and sentencing

recommendation for the Court.




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     IT IS FURTHER ORDERED that the United States Marshal make

arrangements to have the Defendant transported from his place of

incarceration to the hearing and return him thereto after resentencing. The

United States Marshal shall ensure that the Defendant arrives in this

District prior to the hearing date in order that he may be afforded adequate

opportunity to confer with counsel in preparation for the resentencing

hearing.

     The Clerk of Court is directed to transmit this Order electronically to

the Federal Defenders Office, the United States Attorney, the United

States Marshal, the United States Probation Office, and via regular mail to

the Defendant.


                                      Signed: May 13, 2009




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